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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,                  §
                                               §
        Plaintiffs,                            §
  v.                                           §
                                               §   Civil Action No. 4:20-cv-957-SDJ
  GOOGLE LLC,                                  §
                                               §
        Defendant.                             §


          PROSPECTIVE PLAINITFF STATE OF LOUISIANA’S
  MEMORANDUM OF LAW IN SUPPORT OF MOTION TO INTERVENE AS
                        PLAINTIFF


       On March 15, 2021, the plaintiff states in the above-styled action filed their

 First Amended Complaint (“Amended Complaint”) against Google LLC (“Google”)

 under federal and state antitrust and deceptive trade practices laws. Prospective

 Plaintiff State of Louisiana (“Louisiana”) now moves the Court for permission to

 intervene in the action as a plaintiff pursuant to Federal Rule of Civil Procedure 24.

       The deadline to add parties according to the Scheduling Order entered on May

 21, 2021, (Dkt. 123) is Thursday, June 17, 2021. Louisiana is not proposing that any

 new facts or claims be added to the complaint at this time, and instead proposes that

 it be permitted to intervene as a plaintiff state and that any state specific claims be

 added to an amended complaint on or before the November 12, 2021 deadline for

 plaintiffs to file an amended pleading. Id.

       Non-substantive changes to the Amended Complaint would include (1) adding

 Louisiana to the caption:
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        LOUISIANA
        By Attorney General Jeff Landry

 (2) including Louisiana in the list of plaintiff states in paragraph 1 of the Amended

 Complaint; and (3) adding a signature block identical to the one submitted with this

 motion.

        Louisiana seeks to intervene in this case under Federal Rule of Civil Procedure

 24(b)(1)(b), permissive intervention. Intervention allows a nonparty to file a motion

 to enter a lawsuit to protect its interests when the underlying lawsuit contains

 common questions of law and fact. Federal Rule of Civil Procedure 24(b)(1) provides

 that “[o]n timely motion, the court may permit anyone to intervene who . . . (B) has a

 claim or defense that shares with the main action a common question of law or fact.”

 Fed. R. Civ. P. 24(b)(1)(B). “In exercising its discretion, the court must consider

 whether the intervention will unduly delay or prejudice the adjudication of the

 original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

 Louisiana’s Motion to Intervene is Timely

        Louisiana’s motion to intervene is timely. As discussed above, the case

 Scheduling Order sets June 17, 2021 as the deadline to add parties. The Scheduling

 Order contemplated when parties could timely be added to the case without causing

 undue delay or prejudice to the adjudication of the original parties’ rights. Louisiana

 does not seek to add new facts into a pleading, and any claims added to a future

 amended pleading by the plaintiff states are related to the underlying claims already

 existing in the case (antitrust and consumer protection). Accordingly, adding
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 Louisiana to the case at this time does not cause undue delay and Google is not

 prejudiced. 1

 In the Interest of Party Resources and Time, Louisiana Does Not Wish to Amend
 Pleadings

        As discussed, Louisiana is not seeking to add any new facts to the underlying

 Amended Complaint. Any pleading or amended complaint at this time would be

 identical to the live pleading, with the exception of adding Louisiana to the sections

 listed above and listing Louisiana’s antitrust and consumer protection statutes. 2

         Making the parties go through the process of substantively drafting, filing,

 and responding to pleadings at this time would be an unnecessary use of resources.

 Although Rule 24(c) states that a motion for intervention be accompanied by a

 pleading, “[t]he circuits appear to be split in their approach to enforcement of Rule

 24(c), with a majority favoring a permissive interpretation of the rule.” In re Toyota

 Hybrid Brake Litig., 4:20-CV-127, 2020 WL 6161495, at *11 (E.D. Tex. Oct. 21, 2020)




 1
   “In exercising discretion on a timely motion, the Court considers if the intervenor has a claim or
 defense that shares with the main action a common question of law or fact, and whether the
 intervention will cause undue delay or prejudice.”24 Nevada v. United States Dep't of Labor, No.
 4:16-CV-731, 2017 WL 3780085, at *3 (E.D. Tex. Aug. 31, 2017) (citing FED. R. CIV. P.
 24(b)(1)(B), (b)(3)); see Graves v. Walton County Bd. of Educ., 686 F.2d 1135, 1140 n.3 (5th Cir.
 Unit B 1982) (“Under Rule 24(b), a district court may permit intervention if to do so will not
 unduly delay or prejudice adjudication of the rights of the original parties.”). In re Toyota Hybrid
 Brake Litig., 4:20-CV-127, 2020 WL 6161495, at *19 (E.D. Tex. Oct. 21, 2020).

 2
  Louisiana would be added to the underlying action in the public interest on behalf of the people
 of the State of Louisiana, by the Honorable Jeff Landry, Louisiana Attorney General, against
 Google pursuant to Louisiana Unfair Trade Practices and Consumer Protection Law (LUPTA),
 La. Rev. Stat. Ann. § 51:1401, et seq., and the Louisiana Monopolies Law, La. Rev. Stat. Ann. §
 51:121, et seq.
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 (citing Liberty Surplus Ins. Companies v. Slick Willies of Am., Inc., No. CIV.A. H-07-

 0706, 2007 WL 2330294, at *1 (S.D. Tex. Aug. 15, 2007)). “For example, the Fifth

 Circuit has permitted intervention even in the absence of a motion to intervene.” Id.

 at n. 15.

        Louisiana requests that it be permitted to intervene in this case and that it

 include the amendments discussed above into an amended complaint with the other

 plaintiff states, that will be filed on or before the deadline to amend pleadings.

 Conclusion

        Louisiana’s Motion to Intervene should be granted as it will allow Louisiana to

 resolve its disputes in a case that shares common questions of law and fact, is timely,

 and is permitted under the Federal Rules of Civil Procedure.

 Dated this 17th day of June 2021.

 Respectfully submitted,

 FOR STATE OF LOUISIANA


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                              CERTIFICATE OF SERVICE

        I certify that on this 17th day of June 2021, this document was filed
 electronically in compliance with Local Rule CV-5(a) and served on all counsel who
 have consented to electronic service, per Local Rule CV-5(a)(3)(A).
                                             /s/James R. Dugan, II
